

People v Nunez (2021 NY Slip Op 06556)





People v Nunez


2021 NY Slip Op 06556


Decided on November 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 23, 2021

Before: Acosta, P.J., Gische, Singh, Scarpulla, Mendez, JJ. 


Ind. Nos. 4506N/15, 806/16 Appeal No. 14672 Case No. 2018-1226 

[*1]The People of the State of New York, Respondent,
vGabriel Nunez, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Dalourny Nemorin of counsel), for appellant.



Appeal from judgments, Supreme Court, New York County (James M. Burke and Abraham L. Clott, J. at pleas; Abraham L. Clott, J. at sentencing), rendered March 15, 2017, convicting defendant of criminal possession of a controlled substance in the third degree and criminal sale of a controlled substance in the third degree, and sentencing him, as a second felony drug offender, to concurrent terms of three years, held in abeyance, motion by assigned counsel to be relieved denied without prejudice to renewal, and counsel directed to resend defendant a letter advising him of his right to submit a pro se brief with the correct address for this Court.
Although assigned counsel complied with People v Saunders  (52 AD2d 833 [1st Dept 1976]) by sending defendant a copy of the brief advising this Court that there are no nonfrivolous issues to be raised on appeal and advising defendant of his right to submit a pro se supplemental brief directly to this Court, assigned counsel gave him the
incorrect address to do so. Accordingly, we hold the matter in abeyance pending proof of notification to defendant correcting the error and readvising him of his rights. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 23, 2021








